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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                         LUFKIN DIVISION

 BLAZE HICKS                                       §

 VS.                                               §      CIVIL ACTION NO.          9:19-CV-212

 BRYAN SEALES, ET AL.                              §

                              REPORT AND RECOMMENDATION
                           OF UNITED STATES MAGISTRATE JUDGE

        Plaintiff Blaze Hicks, a prisoner previously confined at the Tyler County Jail, proceeding pro

 se and in forma pauperis, filed this civil rights action pursuant to 42 U.S.C. § 1983 against Brad

 Seales, Kerry Perry, and Donald Calhoon.

        This action was referred to the undersigned magistrate judge pursuant to 28 U.S.C. § 636 for

 findings of fact, conclusions of law, and recommendations for the disposition of the case.

        Defendants filed a Motion for Summary Judgment. (Doc. #94.) Plaintiff has filed a

 Response. (Doc. #98.) This Report and Recommendation considers the merits of the Motion and

 Plaintiff’s Response.

                                         Factual Background

        On September 23, 2019, Plaintiff alleges he was arrested at the direction of Defendant Seales

 after he was accused of murder. Plaintiff alleges he was arrested without a warrant or probable

 cause, and then unlawfully confined at the Tyler County Jail.

        On October 27, 2019, Plaintiff was visiting with his grandparents at the Tyler County Jail.

 Plaintiff alleges Defendant Perry walked into the visitation room and told Plaintiff that the visit was

 ending early. When Plaintiff asked why the visit was cut short, Defendant Perry allegedly grabbed
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 Plaintiff by the back of his shirt and neck, slammed him out of a chair, and then slammed his head

 against the wall.

           After the incident, Plaintiff was placed in a holding tank. Plaintiff alleges he told Defendant

 Calhoon that he needed medical assistance for a head injury because he was dizzy. Plaintiff alleges

 Defendant Calhoon denied his request for medical treatment. Plaintiff did not receive medical

 treatment until the next day when he was sent to the hospital.

                                           Defendants’ Motion

           Defendants contend that Plaintiff’s false arrest and false imprisonment claims are barred by

 Heck v. Humphrey, 512 U.S. 477, 486-87 (1994). Defendants also contend that they are entitled to

 qualified immunity with respect to the claims of excessive force and delayed medical treatment.

                                            Standard of Review

           Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment is appropriate

 “if the movant shows that there is no genuine issue as to any material fact and the movant is entitled

 to judgment as a matter of law.” FED. R. CIV. PRO. 56(a). A fact is material if it could affect the

 outcome of the case under the governing law. Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986);

 Instone Travel Tech Marine & Offshore v. Int’l Shipping Partners, Inc., 334 F.3d 423, 427 (5th Cir.

 2003). A dispute about a material fact is genuine “if the evidence is such that a reasonable jury could

 return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248; Instone Travel Tech, 334 F.3d

 at 427.

           The party seeking summary judgment bears the initial burden of demonstrating that there is

 an absence of evidence to support the non-moving party’s case. Celotex Corp. v. Catrett, 477 U.S.

 317, 325 (1986); Hart v. Hairston, 343 F.3d 762, 764 (5th Cir. 2003). After a proper motion for


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 summary judgment is made, the non-movant must set forth specific facts showing that there is a

 genuine issue for trial. FED. R. CIV. P. 56(c); Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

 U.S. 574, 586-87 (1986); In re Taxotere (Docetaxel) Prods. Liab. Litig., 994 F.3d 704, 708 (5th Cir.

 2021); Malacara v. Garber, 353 F.3d 393, 404 (5th Cir. 2003).

        Because summary judgment is a final adjudication on the merits, courts must employ the

 device cautiously. Hulsey v. Texas, 929 F.2d 168, 170 (5th Cir. 1991). In prisoner pro se cases,

 courts must be careful to “guard against premature truncation of legitimate lawsuits merely because

 of unskilled presentations.” Naranjo v. Thompson, 809 F.3d 793, 806 (5th Cir. 2015) (quoting

 Murrell v. Bennett, 615 F.2d 306, 311 (5th Cir. 1980)).

                                               Analysis

        Title 42 U.S.C. § 1983 creates a cause of action against any person who, acting under color

 of state law, causes a person to be deprived of a federally-protected constitutional right. Gomez v.

 Toledo, 446 U.S. 635, 640 (1980); Phillips v. Monroe Cnty., 311 F.3d 369, 373 (5th Cir. 2002).

 Section 1983 provides:

        Every person who, under color of any statute, ordinance, regulation, custom or usage,
        of any state . . . subjects, or causes to be subjected, any citizen of the United States
        or any other person within the jurisdiction thereof to the deprivation of any rights,
        privileges or immunities secured by the Constitution and laws shall be liable to the
        party injured . . . .

 42 U.S.C. § 1983.

 I. False Arrest and Imprisonment

        Plaintiff contends that he was falsely arrested and falsely imprisoned by Defendant Seales

 because there was no probable cause for Plaintiff’s arrest, in violation of the Fourth Amendment to

 the United States Constitution. In Heck v. Humphrey, the United States Supreme Court concluded


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 that a claim calling into question the legality of a conviction or confinement is not cognizable in a

 civil rights action unless a plaintiff first establishes that his conviction has been overturned,

 expunged, or declared invalid. Heck v. Humphrey, 512 U.S. 477, 486-87 (1994); Connors v.

 Graves, 538 F.3d 373, 376 (5th Cir. 2008).

        Plaintiff was convicted of murder while this action was pending. Because Plaintiff’s Fourth

 Amendment claims concerning his arrest and imprisonment call into question the validity of his

 conviction, they are not cognizable in a civil rights action until the conviction is reversed or

 otherwise invalidated. Id. at 489; Ballard v. Burton, 444 F.3d 391, 397 (5th Cir. 2006). Therefore,

 the false arrest and false imprisonment claims should be dismissed without prejudice to Plaintiff’s

 ability to file a lawsuit if the conviction is overturned or declared invalid.

 II. Qualified Immunity

        The doctrine of qualified immunity affords protection against individual liability for civil

 damages to officials “insofar as their conduct does not violate clearly established statutory or

 constitutional rights of which a reasonable person would have known.” Hope v. Pelzer, 536 U.S.

 730, 739 (2002) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Federal courts use a two-

 part test to determine whether the defendants are entitled to qualified immunity. Freeman v.

 Texas Dep’t of Crim. Just., 369 F.3d 854, 863 (5th Cir. 2004). First, the court must determine

 whether Plaintiff’s allegations, if true, establish a constitutional violation. Hope, 536 U.S. at 736;

 Freeman, 369 F.3d at 863. If a constitutional right was violated, the court must decide whether

 the right was clearly established at the time of the violation. Freeman, 369 F.3d at 863. Clearly

 established rights should not be defined broadly. Mullenix v. Luna, 577 U.S. 7, 12 (2015). “For a




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 constitutional right to be clearly established, its contours ‘must be sufficiently clear that a

 reasonable official would understand that what he is doing violates that right. This is not to say

 that an official action is protected by qualified immunity unless the very action in question has

 previously been held unlawful; but it is to say that in the light of pre-existing law the

 unlawfulness must be apparent.’” Hope, 536 U.S. at 739 (quoting Anderson v. Creighton, 483

 U.S. 635, 640 (1987)).

        The district court has discretion to decide which prong of the two-part test to address first.

 Pearson v. Callahan, 555 U.S. 223, 236 (2009). Plaintiff’s allegations meet the second prong of the

 test because his rights to be free from the use of force without provocation and his right to medical

 treatment were clearly established at the time of the alleged violations. Thus, the court must

 determine whether Plaintiff has alleged facts supporting his claims that his constitutional rights were

 violated.

        A. Excessive Force

        The use of force against a pretrial detainee is excessive and violates the Fourteenth

 Amendment if the force was objectively unreasonable in light of the facts and circumstances facing

 the defendant. Fairchild v. Coryell Cnty., 40 F.4th 359, 362 (5th Cir. 2022). Objective

 reasonableness is determined “from the perspective of a reasonable officer on the scene, including

 what the officer knew at the time, not with the 20/20 vision of hindsight.” Kingsley v. Hendrickson,

 576 U.S. 389, 397 (2015). The following non-exhaustive factors are relevant to the reasonableness

 inquiry: (1) the relationship between the need to use force and the amount of force used; (2) the

 extent of the plaintiff’s injuries; (3) any efforts made to limit the amount of force used; (4) the

 severity of the security problem; and (5) whether the plaintiff was actively resisting the officer. Id.


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        In his Original Complaint, Plaintiff stated, under penalty of perjury, that Defendant Perry

 slammed his head into the wall without cause. Defendant Perry offers a vastly different account of

 the incident. Defendant Perry contends that Plaintiff threatened the safety and security of the jail

 when he created a disturbance in the visitation room, refused to obey an order to end the visit, and

 then charged at and wrestled with Defendant Perry. At the summary judgment stage, the court may

 not make credibility determinations and must accept Plaintiff’s version of the facts as true. There

 is a genuine issue of material fact regarding the circumstances of the use of force, and Defendant

 Perry is not entitled to qualified immunity at this stage.

        B. Deliberate Indifference to Serious Medical Needs

        Plaintiff alleges Defendant Calhoon was deliberately indifferent to Plaintiff’s serious medical

 needs by failing to ensure he received medical treatment after the use of force.

        The Fourteenth Amendment ensures the safety of pretrial detainees, while the Eighth

 Amendment applies to convicted prisoners. Baughman v. Hickman, 935 F.3d 302, 306 (5th Cir.

 2019). Because there is no significant distinction between detainees and convicted prisoners

 concerning their health and safety and medical care, the same standard applies to the constitutional

 claims of both categories of prisoners in cases involving episodic acts. Gibbs v. Grimmette, 254 F.3d

 545, 548 (5th Cir. 2001). “When the alleged unconstitutional conduct involves an episodic act or

 omission, the question is whether the state official acted with deliberate indifference to the inmate’s

 constitutional rights, regardless of whether the individual is a pretrial detainee or state inmate.” Id.

 An officer’s failure to provide a detainee with immediate medical treatment is considered an episodic

 act or omission. Brown v. Strain, 663 F.3d 245, 249 (5th Cir. 2011). Therefore, the deliberate

 indifference standard applies.


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        The deliberate indifference standard is a subjective inquiry; Plaintiff must establish that the

 defendant was aware of an excessive risk to Plaintiff’s health or safety, and yet consciously

 disregarded the risk. Farmer v. Brennan, 511 U.S. 825, 840-41 (1994); Calhoun v. Hargrove, 312

 F.3d 730, 734 (5th Cir. 2002). Deliberate indifference is an extremely high standard for the plaintiff

 to meet. Baughman, 935 F.3d at 307. Demonstrating that the defendant was negligent or failed to

 act reasonably is not enough to show a constitutional violation. Mace v. City of Palestine, 333 F.3d

 621, 626 (5th Cir. 2003). The plaintiff must show that the official conduct was wanton, which is

 defined as reckless. Baughman, 935 F.3d at 307. Medical records of sick calls, examinations,

 diagnoses, and medications may rebut a prisoner’s allegations of deliberate indifference. Banuelos

 v. McFarland, 41 F.3d 232, 235 (5th Cir. 1995).

        Mere negligence, neglect, or medical malpractice does not rise to the level of a constitutional

 violation. Williams v. Hampton, 797 F.3d 276, 280-81 (5th Cir. 2015) (noting that deliberate

 indifference requires a state of mind “more blameworthy” than negligence); Domino v. Texas Dep’t

 of Crim. Just., 239 F.3d 752, 756 (5th Cir. 2001) (“It is indisputable that an incorrect diagnosis by

 prison medical personnel does not suffice to state a claim for deliberate indifference.”); Hall v.

 Thomas, 190 F.3d 693, 697 (5th Cir. 1999) (“[A]llegations of malpractice or negligence will never

 state a claim under the Eighth Amendment.”). Nor does a prisoner’s disagreement with his medical

 treatment amount to a constitutional violation. Norton v. Dimazana, 122 F.3d 286, 292 (5th Cir.

 1997). “Rather, the plaintiff must show that the officials ‘refused to treat him, ignored his

 complaints, intentionally treated him incorrectly, or engaged in any similar conduct that would

 clearly evince a wanton disregard for any serious medical needs.’” Domino, 239 F.3d at 756

 (quoting Johnson v. Treen, 759 F.2d 1236, 1238 (5th Cir. 1985)).


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        In an affidavit, Defendant Calhoon states that he was called to the jail at Plaintiff’s request,

 and he went to the holding cell to talk to Plaintiff. (Doc. #94-4 at 3.) Defendant Calhoon described

 the interaction as follows:

        Hicks did not appear to be in any medical distress when I saw him. He was
        obviously angry, but he was moving normally, speaking normally, and did not seem
        to have any medical needs. He was not bleeding.

        Hicks told me that he wanted to go to the hospital. I closely observed Hicks and I did
        not see anything about his condition that led me to believe that he needed emergency
        medical treatment. I told Hicks Chief Jailer Michael Greaff has been notified of the
        incident. Jailers were also instructed to keep an eye on Hicks and to take him to the
        hospital if he appeared to have any medical needs. Hicks was closely watched for
        any medical problems, but none were observed.

        I never believed that Hicks had any serious medical needs. There was nothing about
        him that seemed hurt or in need of medical attention.

 (Doc. #94-4 at 3.) Defendant also submitted Plaintiff’s medical records from the following day. The

 records from the Tyler County Hospital show that Plaintiff complained of headache and nausea, but

 a CT scan was negative for abnormalities. (Doc. #94-5 at 3-4.)

        The competent summary judgment evidence is insufficient to create a genuine issue of

 material fact that Plaintiff had a serious medical need, that Defendant Calhoon was aware Plaintiff

 had a serious medical need, or that he consciously disregarded a risk of harm to Plaintiff’s health by

 failing to send him to the hospital immediately after the alleged use of force. Defendant Calhoon

 acknowledges that Plaintiff requested to go to the hospital, but based on the information available

 to Defendant, there was no reason for Defendant Calhoon to believe that Plaintiff needed emergency

 medical attention. Plaintiff’s condition was monitored by other members of the jail staff, who were

 directed to bring Plaintiff to the hospital if necessary. Further, the competent summary judgment

 evidence does not reflect that Plaintiff suffered any harm as a result of the delay. Defendant


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 Calhoon’s conduct does not rise to the level of egregious intentional conduct required to satisfy the

 deliberate indifference standard. See Gobert v. Caldwell, 463 F.3d 339, 351 (5th Cir. 2006).

 Because Plaintiff has not shown that Defendant Calhoon violated his clearly-established rights under

 the Fourteenth Amendment, he is entitled to qualified immunity.

                                          Recommendation

        The claims against Defendant Seale should be dismissed without prejudice to Plaintiff’s

 ability to file a lawsuit if his conviction is overturned or declared invalid. Defendants’ Motion for

 Summary Judgment should be granted with respect to the medical claims against Defendant Calhoon

 and denied with respect to the excessive force claims against Defendant Perry.

                                             Objections

        Within fourteen days after receipt of the magistrate judge’s report, any party may serve and

 .file written objections to the findings of facts, conclusions of law and recommendations of the

 magistrate judge. 28 U.S.C. § 636(b)(1)(C).

        Failure to file written objections to the proposed findings of facts, conclusions of law and

 recommendations contained within this report within fourteen days after service shall bar an

 aggrieved party from de novo review by the district court of the proposed findings, conclusions and

 recommendations and from appellate review of factual findings and legal conclusions accepted by

 the district court except on grounds of plain error. Douglass v. United Servs. Auto. Ass’n, 79 F.3d

 1415, 1417 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72.

                   SIGNED this the 7th day of October, 2022.




                                                ___________________________________
                                                Christine L Stetson
                                                UNITED STATES MAGISTRATE JUDGE

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